UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

    In re:
                                                                         Case No.: 20-10322
    The Diocese of Buffalo, N.Y.,
                                                                         Chapter 11

                                                   Debtor,


            CERTIFICATE OF NO OBJECTION WITH RESPECT TO THE
     MONTHLY FEE STATEMENT OF CHELUS, HERDZIK, SPEYER & MONTE, P.C.
      FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
      OF EXPENSES AS SPECIAL COUNSEL TO THE DIOCESE OF BUFFALO, N.Y.
        FOR THE PERIOD SEPTEMBER 1, 2020 THROUGH FEBRUARY 28, 2021

             Pursuant to this Court’s Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals and Members of Official Committees [Docket No.

362] (the “Interim Compensation Order”)1, the undersigned hereby certifies that on April 9, 2021,

Chelus, Herdzik, Speyer & Monte, P.C. (“Chelus”) filed its Monthly Fee Statement of Chelus,

Herdzik, Speyer & Monte, P.C. for Compensation for Services Rendered and Reimbursement of

Expenses as Special Counsel to The Diocese of Buffalo, N.Y. for the Period September 1, 2020

through February 28, 2021 [Docket No. 991] (the “Monthly Fee Statement”) and no objections to

the Monthly Fee Statement have been filed.

             Accordingly, pursuant to the Interim Compensation Order, The Diocese of Buffalo, N.Y.

is authorized to pay on an interim basis eighty percent (80%) of Chelus’ fees and one hundred

percent (100%) of Chelus’ expenses, as reflected in the Monthly Fee Statement.




1
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Interim Compensation
Order.



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Dated: April 26, 2021                     CHELUS, HERDZIK, SPEYER &
                                          MONTE, P.C.


                                        By:      /s/ Thomas J. Speyer
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                                          Buffalo, New York 14202
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                                          Special Counsel for
                                          The Diocese of Buffalo, N.Y.




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